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                            UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF CONNECTICUT


RACHEL DENNERT,                     )
                                    ) Civil No. 3:11-cv-01229-SRU.
            Plaintiff               )
                                    )
      vs.                           )
                                    )
MEDTRONIC, INC; MEDTRONIC           )
DIABETES, a Division of             )
MEDTRONIC, INC.;                    )
UNOMEDICAL DEVICES SA de CV         )
and UNOMEDICAL A/S                  )
                                    )
            Defendants              )
                                    )
___________________________________ )


    MOTION FOR EXTENSION OF TIME UNDER CASE MANAGEMENT ORDER
       _______________________________________________________________

       TAKE NOTICE, that plaintiff Rachel Dennert moves before the court for an extension of

time under the current Case Management Order to provide the rebuttal report of plaintiff’s

human factors expert William Vigilante, Ph.D. Plaintiff requests an additional seven (7) days

until January 6, 2017 to provide Dr. Vigilante’s rebuttal report.

       In support of this application, plaintiff will rely upon the Declaration of Kevin Haverty

submitted herewith.

                                                       WILLIAMS CUKER BEREZOFSKY, LLC

                                                 BY:        /s/ Kevin Haverty
                                                       KEVIN HAVERTY, pro hac vice
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RACHEL DENNERT,                     )
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UNOMEDICAL DEVICES SA de CV         )
and UNOMEDICAL A/S                  )
                                    )
            Defendants              )
                                    )
___________________________________ )


______________________________________________________________________________

                     DECLARATION OF KEVIN HAVERTY
______________________________________________________________________________


       KEVIN HAVERTY, of full age and duly sworn according to law makes this Declaration

in support of plaintiff’s motion to extend time for production of a rebuttal expert report by

William Vigilante, Ph.D.:

       1.      I am an attorney at law licensed in the State of New Jersey and Commonwealth of

Pennsylvania and admitted to practice before this court pro hac vice to represent the plaintiff in

this matter. I am the proper person to make this Declaration.

       2.      The parties in this case are winding down expert discovery with a pending trial

date of March 10, 2017. At the time the court fixed the current trial date, the parties submitted a

stipulated Case Management Order pertaining to the remaining discovery and motion practice in

advance of trial. Among other things, the CMO provided that plaintiff is to serve rebuttal reports
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of her neurology expert, neuropsychology expert, vocational economics expert and human

factors expert, if any, by December 30, 2016.

        3.       Defendants have each served the report of a human factors expert and defendant

Medtronic has also served the report of Timothy Ulatowski, a former FDA reviewer who opines

on, among other things, the FDA’s thinking about human factors engineering during the time

period pertinent to this case. Unomedical’s human factors expert Timothy Budacki was deposed

on December 3. Medtronic’s regulatory expert Timothy Ulatowski was deposed on December 8

and its human factors expert William Muto, Ph.D. was deposed one week ago on December 14.

Those depositions constitute more than 1,000 pages of transcript with multiple exhibits.

Because of the scheduling of the depositions, plaintiff was then left with 16 days (12 business

days)1 to submit the materials to her human factors expert and obtain a rebuttal report under the

current CMO.

        4.       Dr. Vigilante, plaintiff’s human factors expert, has advised that he is tied up with

other matters through the end of this week and has a family vacation scheduled for the week

between Christmas and New Years during which the time to provide a rebuttal report falls.

        5.       On December 21, I advised defense counsel of this and requested that they

consent to a seven (7) day extension to provide a rebuttal report from Dr. Vigilante in light of the

circumstances. Counsel for Medtronic refused to consent to the extension because it would leave

“only two business days to review and analyze the rebuttal report, consult with our experts, and

incorporate as necessary into our motion [for summary judgment]” to be filed on January 11,

2017, and therefore the schedule would be “prejudicial and unworkable.”                              Counsel for

Unomedical did not respond to the request.


1
  As originally envisioned under earlier court Orders, plaintiff was to have 30 days following the completion of
defense expert witness depositions to submit any rebuttal reports.
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       6.      It is respectfully submitted that under the circumstances, with the looming

holidays, the abnormally truncated time frame for providing rebuttal opinion to three different

experts, the complexity of the materials—including over 1,000 pages of transcript with numerous

exhibits—and Dr. Vigilante’s pre-planned vacation, a 7 day extension to obtain rebuttal opinion

is eminently reasonable. While Medtronic complains that this will somehow affect its motion for

summary judgment, it does not specify how the opinion of a human factors expert would bear on

that. Indeed, if his opinions might somehow be a basis for defeating summary judgment, that is

all the more reason under the circumstances to grant the extension of time in the interests of

justice. Otherwise, if his opinion does not bear on summary judgment then there is no basis to

object to the extension. It would be grossly unfair to permit defendants to get judgment as a

matter of law solely because plaintiff’s human factors expert was unable to respond to

defendants’ experts within a tightly truncated time period which coincides with the holidays and

a family vacation.

       7.      For the foregoing reasons, it is respectfully requested that the court grant plaintiff

a seven (7) day extension for submission of the rebuttal expert report of William Vigilante, Ph.D.

until January 6, 2017.

       The foregoing statements by me are true, I am aware that if any of these statements is

willfully false, I am subject to punishment.

                                                       WILLIAMS CUKER BEREZOFSKY, LLC

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